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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served this 4th day of June, 2019 by electronic transmission through the Court’s automated
Case Management and Electronic Docketing System for the U. S. Bankruptcy Court for the
Northern District of Texas on all parties-in-interest submitting to service of papers in this case by
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